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CONSULTING, INC,

January 28, 2009

The Honorable Judge Gary Sharpe
United States District Judge
Albany, New York

Dear Judge Sharpe:

This letter is written on behalf of Efrain Montano-Ruiz; he was known to us at CHE Consulting, Inc. as
Roberto Lopez.

While we absolutely understand that what Efrain did was wrong we wanted to share our feelings about his
character and how he affected those with whom he worked. I’ve asked David York, President and owner of
CHE, Wilhiam “Vern” Pilling who was Efrain’s manager and Michael Jones who was most recently Efrain’s
co-worker to share their comments,

Firstly, Efrain was a full-time employee with CHE Consulting since February 02, 2004. He began his
employment as an hourly Test and Certification Engineer working in our Arizona warehouse. On June 01,
2008, he was promoted to an exempt status as an ADPE Engineer and relocated to New York to represent
CHE with a major client.

In less than a year of employment, Efrain received a “Mission, Values and Vision Award”. One of our
Product Specialists nominated Efrain commenting how very impressed he was with his willingness to go the
extra mile as well as his helpfulness with one of the training classes that was held at the Arizona warehouse.
He felt that the class was “successful due in large part to Roberto’s contribution”,

Our owner and President, David York, has shared his comments to you.

“Your Honor: The person CHE knows as Roberto Lopez was an individual who worked his way from an
entry-level warehouse position to that of a customer service engineer, servicing enterprise-class, mainframe
processors and associated peripherals. This was no small task and required attention to detail, loyalty,
dedication and a sophisticated intellect. ‘The individual CHE knows as Roberto Lopez, was a kind, thoughtful
and respectful person whose entire focus was on doing the job, representing the company in a professional
manner, respecting supervisors and customers alike without complaining about any situation in which he was
placed. The most respect that I, as President of this company, have ever received came from the person we
know as Roberto Lopez.

CHE was shocked to be informed that the person we know as Roberto Lopez was not Roberto Lopez. This
was a sad day, not only me, but for every team member that had come to know this individual. I wished that |
the individual we had known as Roberto Lopez had followed the United States Immigration process and had |
become a legal United States Citizen, without taking a short-cut and using someone else's identity. I wished
that other citizens of this Great Nation held the love and appreciation for what we Americans have
accomplished as I saw demonstrated in the person we know as Roberto Lopez.

CHE wishes this man well as he returns to his country, regrets that we have lost a valuable team member and
most of all forgives him for the deception perpetrated on our company and our team members.”

Custom HARDWARE ENGINEERING & CONSULTING, INC.

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Upon Efrain’s hiring, he reported to William “Vern” Pilling, one of our Application Software Architects.
Vern shares, “My relationship began with Efrain/Roberto when he was hired to repair and ship parts from the
CHE Tucson office. I was his manager and we quickly developed a friendship as well. He is a hard working,
loyal, trustworthy and gentle man for whom I have tremendous respect. While working in the Tucson office
he was solely responsible for hundreds of thousands of dollars worth of parts and equipment stored, shipped
and repaired in the 5,000 square foot facility. Additionally, he was trusted with, and took responsibility for,
numerous servers containing all of CHE’s mission critical data and email. He took it upon himself to learn
anything and everything necessary to do his job in exemplary fashion. Having lived in Tucson most of my
adult life, I have extensive exposure to the immigration issues, Efrain/Roberto is an individual that I, as an
American citizen, want in our country. He exhibits every trait that made this country great. I ask the Court for
leniency upon my friend and colleague Efrain/Roberto. He truly is a good and gentle man that I am proud to
call a friend.”

Mike Jones, his most recent co-worker adds, “Efrain is always willing to make sacrifices for CHE; he was
willing to move to any city that CHE needed him because that’s where he was needed. This meant leaving
his wife and new child back in Mexico. He was extremely reliable and took on any challenge and was always
ready to assist me 24x7, His mind is a sponge, always wanting to learn. He spent his free time at the library
absorbing information about different cultures and became fascinated with French history. He recently
enrolled in a French language course at the adult school at night. He became my best friend and a friend to
my family. I miss him!”

From my perspective as the Employee Relations Manager, Efrain always responded promptly to all human
resource requests and required forms. When he came in to the corporate office for training, he was so
personable, friendly and respectful to everyone. What a pleasure to have him visit us! He took great pride in
his job and working for CHE; he appreciated everyone,

Two of our Product Specialists sent an email to Efrain’s Regional Manager and copied me so I could put the
following comments in his personnel file. It turned out that Efrain was doing some additional research to see
if a particular machine was working. One specialist noted that he wished that we could have more people like
him. The other responded with, “He is one of our best Customer Service Engincers. He has the attention to
detail, a focus on what’s important along with the desire to learn and the ability to understand; this makes him
a pleasure to mentor. I trust that he will carry out any task that I ask him to and ask questions when he
doesn’t understand.” The other specialist replied, “Now if we could just clone him”.

I’m certain that if I asked others to write something about Efrain, you would be reading much of the same
glowing thoughts. These few comments from those noted speak volumes about Efrain,

On behalf of CHE Consulting, Inc., we appreciate your taking the time to learn more about Efrain Montano-
Ruiz.

Most Sincerely,

Aa Macrrger

Lois Weir-Jungers
Employce Relations Manager

